

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. AP-76,557






DAVID DONOVAN, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 756982 IN THE 184TH JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O P I N I O N




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 184th Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	On March 30, 2011, we held this application in abeyance and ordered the Respondent, the
District Clerk of Harris County, to file a response. On May 2, we received a response. It included
correspondence in which the State acknowledged receiving Relator's application on August 11,
2010. The response also included a copy of the State's proposed order designating issues, which the
trial court signed on November 12, 2010.

	Under Article 11.07 of the Code of Criminal Procedure, the State shall answer an application
within 15 days of the date it receives a copy. Tex. Code Crim. Proc. art. 11.07, § 3(b). If the trial
court determines that there are controverted, previously unresolved facts material to the legality of
an applicant's confinement, it shall enter an order within 20 days of the expiration of the time the
State is permitted to answer. Art. 11.07, § 3(d). In Relator's case, the trial court signed the State's
proposed order designating issues on November 12, 2010. This order was not timely entered.
"Without a timely entry of an order designating issues, Article 11.07 imposes a duty upon the clerk
of the trial court to immediately transmit to this Court the record from the application for a writ of
habeas corpus, deeming the trial court's inaction a finding that no issues of fact require further
resolution." Gibson v. Dallas County Dist. Clerk, 275 S.W.3d 491, 492 (Tex. Crim. App. 2009).

	We conditionally grant mandamus relief and direct the Respondent to immediately forward
Relator's application to this Court. The writ of mandamus will issue only in the event that the
Respondent fails to comply.

Filed: May 18, 2011

Do not publish	


